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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                                                   § CASE NUMBER 6:17-CR-00034-RC
 v.                                                §
                                                   §
                                                   §
 THOMAS ERIK WILLIAMSON (1),                       §
                                                   §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable John D. Love, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge John D. Love conducted a hearing in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before

the United States Magistrate Judge. The magistrate judge recommended that the court accept the

Defendant’s guilty plea. He further recommended that the court adjudge the Defendant guilty on

Count One of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Thomas Erik Williamson (1), is

adjudged guilty as to Count One of the Indictment charging a violation of 21 U.S.C. § 846 -

CONSPIRACY TO POSSESS WITH INTENT TO MANUFACTURE AND DISTRIBUTE

(METHAMPHETAMINE, COCAINE, HEROIN, CRACK COCAINE, MARIJUANA).


       So Ordered and Signed
       Dec 16, 2017
